 

Case: 1:06-cv-01875 Document #: 1 Filed: 04/05/06 Page 1 of 24 PagelD #:1

IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF ey FILED

 

EASTERN DIVISION
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JEREMY RAMIREZ, ) Ay oe * 5 2006
on behalf of himself and a class, ) MICHAR, o adbig
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Plaintiff, ) RCT Cour
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APEX FINANCIAL MANAGEMENT, LLC, > ™ NORG
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and HILCO RECEIVABLES, LLC, EYs
yon.
Defendants. }
COMPLAINT - CLASS ACTION
INTRODUCTION
1. Plaintiff Jeremy Ramirez brings this action to secure redress from unlawlul

eredit and collection practices engaged in by defendants Apex Financial Management, LLC and
Hileo Receivables, LLC. Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15
U.S.C, §1692 et seq. (“FDCPA”). The FDCPA broadly prohibits unfair or unconscionable
collection methods; conduct which harasses, oppresses or abuses any debtor; and any false,
deceptive or misleading statements, in connection with the collection of a debt; it also requires debt
collectors to give debtors certain information. 15 U.S.C. §§1692d, 1692c, 1692f and 1692¢.
VENUE AND JURISDICTION

2. This Court has jurisdiction under 15 U.S.C. §1692k (FDCPA) and 28 U.S.C,
§$1331, 1337 and 1367.

3. Venue and personal jurisdiction in this District are proper because:

a. Detendants’ collection communications were received by plaintiff
 

 

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within this District;

b. Defendants do business within this District.
PARTIES
4, Plaintiff Jeremy Ramirez is an individual who resides in Montgomery,
Illinois.
5. Defendant Apex Financial Management, ITC is a limited liability company

with its principal place of business at 1120 West Lake Cook Road, Suite A, Buffalo Grove, IL
60069. Its registered agent and office are Jeffrey W. Linstrom, 5 Revere Drive, Suite 206,
Northbrook, IL 60062.

6. Apex Financial Management, LLC is engaged in the business of a collection

agency, collecting debts originally owed to others.

7. Apex Financial Management, LLC is a debt collector as defined in the
FDCPA.

8. Apex Financial Management, LLC is a licensee under the Illinois Collection
Agency Act,

9, Defendant Hilco Receivables, LIC isa limited liability company with offices

at 5 Revere Drive, Suite 206, Northbrook, IL 60062.

10. Defendant Apex Financial Management, [LLC is a wholly owned subsidiary
of defendant Hilco Receivables, LLC,

li. Defendant Hilco Receivables, 1.LC is a member of Apex Financial
Management, LLC.

12. Defendant Ililco Receivables, LLC is in the business of purchasing charged-
 

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off consumer debts originally owed to others for a few cents on the dollar (less than 10) and
attempting to collect them, directly or indirectly, from the consumers.

13. Hilco Reecivables, LLC is a debt collector as defined in the FDCPA.

14. Among the collection methods used by Hilco Receivables, LLC, it often
causes its wholly owned subsidiary Apex Financial Management, LLC to collect its debts.

FACTS

15. During late 2005 and early 2006, Apex Financial Management, LLC was
allempting to collect from plaintiff Jeremy Ramirez an alleged debt incurred for personal, family or
household purposes.

16. The debt was owned by Hilco Receivables, LLC.

17, Apex Financial Management, LLC was acting as the authorized collection
agent of Hileo Receivables, LLC.

18. The acts of Apex Financial Management, LLC in collecting the debt were
chargeable to the principal, Hilco Receivables, LLC.

19. Notice to Apex l‘inancial Management, LLC is notice to the principal, Hilco
Receivables, LLC.

20. Since Hilco is amember of Apex, Hileo has actual knowledge and control or
the means of acquiring actual knowledge and exercising control over all collection activities of
Apex.

2]. On February 9, 2006, plaintiff'sent Apex a letler directing il to cease contact
with him concerning the Hilco debt. A copy of the letter is attached as Exhibit A. A copy of the

Postal Service return reccipt showing that Apex received the letter on February 14, 2006 is attached
 

 

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as Exhibit B.

22. Notwithstanding plaintiff's letter, Apex persisted in placing telephone
calls to plaintiff on at least a dozen subsequent occasions, as shown by Exhibit C.

23, Apex has also informed plaintiff that if he did not pay the alleged debt Apex
would contact his employer.

24, Defendant Apex Financial Management, LLC may have actually
communicated with a third party about the debt.

25. Plaintiff has suffered actual damages from defendant’s actions, in the form
of harassment and aggravation.

26. After Apex reccived Exhibit 8, its principal, Hilco, caused the debt to be
placed with an unrelated collection agency, Phillips & Cohen Associates, Ltd.

27. Shortly alter February 28, 2006, plaintiff received the correspondence in
Exhibit D. Exhibit D consists of a collection letter on the Jetlerhead of Phillips & Cohen and a
“Privacy notice” from Hilco,

28. Apex and other collection agencies that collect debts owned by Hilco
frequently receive correspondence disputing debts or the agent’s authority to collect it, or requesting
cessation of collection activities.

29. On information and belief, it is the practice of Hilco on such occasions to
place the debt with a second collection agency.

30. The purpose and effect of such practice is to circumvent the consumer’s right

to demand verification or cessation of contact.

 
 

 

 

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ecase contact.

COUNT | -FDCPA — INDIVIDUAL CLAIM
31.  Plaintiffincorporates paragraphs 1-30. ‘This claim is against both defendants.

32. Apex violated 15 U.S.C. §1692c by calling plaintiff after he directed it to

33, Section 1692c provides:

(c) Ceasing communication--If a consumer notifies a debt collector in
writing that the consumer refuses to pay a debt or that the consumer wishes the
debt collector to cease further communication with the consumer, the debt
collector shall not communicate further with the consumer with respect to such
debt, except--

(1) toadvise the consumer that the debt collector's further efforts are
being terminated;

(2) to notify the consumer that the debt collector or creditor may
invoke specified remedies which are ordinarily invoked by such debt

collector or creditor; or

(3) where applicable, to notify the consumer that the debt collector
or creditor intends to invoke a specified remedy.

If such notice from the consumer is made by mail, notification shall be complete
upon receipt.

34. Apex isnot entitled to communicate about the debt with any third party under

15 U.S.C. §1692¢(b), which provides:

(b) Communication with third parties--Except as provided in section
1692b of this title, without the prior consent of the consumer given directly to
the debt collector, or the express permission of a court of competent jurisdiction,
or as rcasonably necessary to effectuate a postjudgment judicial remedy, a debt
collector may not communicate, in connection with the collection of any debt,
with any person other than the consumer, his attorney, a consumer reporting
agency if otherwise permitted by law, the creditor, the attorney of the creditor,
or the attorney of the debt collector.

35. The exception for “location information” in 15 U.S.C. §1692b does not apply

 
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because Apex knows full well where plaintiff can be found.
36. Apex’ threat to communicate with a third party thus violates 15 U.S.C.
§§1692e, 1692c(5), and 1692c(10), which provide:
§ 1692e. Falsc or misleading representations [Section 807 of P.L.]
A debt collector may not use any false, deceptive, or misleading
representation or means in connection with the collection of any debt. Without
limiting the general application of the foregoing, the following conduct is a

violation of this section: ...

(5) The threat to take any action that cannot legally be taken or that
is not intended to be taken. ...

(10) The use of any false representation or deceptive means to collect
or attempt to collect any debt or to obtain information concerning a
consumer, ...
37, These violations are attributable to Hilco as principal of Apex.
WHEREFORE, the Court should enter judgment in favor of plaintiff and against
defendants for:
(1) Actual damages;
(2} Attorney’s fees, litigation expenscs and costs of suit;
(3) Such other and further relief as the Court deems proper.
COUNT II —FDCPA - CLASS CLAIM
38. Plaintiff incorporates paragraphs 1-31. This claim is against Hilco.
39. It is an unfair practice, in violation of 15 U.S.C. §1692f, and a deceptive
practice, in violation of 15 U.S.C. §1692c, for Hilco to place debts with a second collection agency

after one collection to which it has assigned a debt has received notice that the debtor disputes the

debt or desires cessation of contact,

 
 

 

 

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40. ‘The practice is unfair because it results in circumvention of the consumer's
right to demand verification of the debt or cessation of collection activities, It is deceptive because
it amounts to a representation that the collection activities of the second agency are lawful, when
they are not.

CLASS ALLEGATIONS

4], Plaintiff brings this claim on behalf of a class, pursuant to Fed.R.Civ.P.
23(a) and 23(b)(3).

42, The class consists of (a) all individuals (b) with respect to whom Apex or any
other collection agency retained by defendant Hilco engaged in collection activity, (c) and whose
records show receipt of a communication disputing the debt or requesting cessation of collection
activity, (d) following which Hilco sent the debt to another collection agency, (¢) where any
collection activity by the second agency occurred on or after a date one year prior to the filing of this
action.

43, On information and belief, the class is s0 numcrous that joinder of all
Members is not practicable. On information and belief, there are at least 40 members of the class.

44, There are questions of law and fact common to the class, which common
questions predominate over any questions relating to individual class members. ‘The predominant
common question is whether the referral of a debt to a second agency under the circumstances set
forth above violates the FDCPA.

45. Plaintiff's claim is typical of the claims of the class members. All are
based on the same factual and legal theories.

46. Plaintiff will fairly and adequately represent the class members. Plaintiff

 

 
 

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has retained counsel experienced in class actions and FDCPA litigation.

47, A class action is superior for the fair and efficient adjudication of this matter,
in that:
a. Individual actions are not economically feasible.
b. Members of the class are likely to be unaware of their nghts;
c. Congress intended class actions to be the principal enforcement

mechanism under the FDCPA.
WHEREFORE, the Court should enter judgment in favor of plaintiff and the class
and against defendant Eilco for:
(1) Statutory damages;
(2) Attorney's fees, litigation expenses and costs of suit,
(3) Such other and further relief as the Court deems proper.
COUNT 11] - ILLINOIS COLLECTION AGENCY ACT
48, Plaintiff incorporates paragraphs 1-31. ‘This claim is against both defendants.
49, Section 9 of the Ilinois Collection Agency Act, 205 TLCS 425/9, makes it
unlawful for a collection agency to engage in any of the following:
... (17) Disclosing or threatening to disclose information relating to a debtor's
indebtedness to any other person except where such other person has a
legitimate business need for the information or cxcept where such disclosure is

regulated by law....

(20) Attempting or threatening to enforce a right or remedy with knowledge or
reason to know that the right or remedy does not exist. ...

50, A private right of action for both compensatory and punitive damages exists

for violation of the Collection Agency Act. Sherman y. Field Clinic, 74 Tl], App.3d 21, 392 N.E.2d

 
 

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154 (1* Dist. 1979).

WHEREFORE, the Court should enter judgment in favor of plaintiff and against

defendants for;
(1)
(2)
(3)
(4)

Danicl A. Edelman
Cathlecn M. Combs
James ©, Latturner

Actual damages;
Punitive damages;
Costs of suit;

Such other and further rclief as the Court deems proper.

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Daniel A. Edelman

 

EDELMAN, COMBS, LATTURNER

& GOODWIN, L.I.C.
120 S. LaSalle Street, 18th Floor
Chicago, Wlinois 60603
(312) 739-4200
(312) 419-0379 (FAX)

JURY DEMAND

Plaintiff demands trial by jury.

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Danie] A. Edelman

 

 

 

 
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VERIFICATION
I, Jeremy Ramirez, declare under penalty of perjury, as provided for by 28 U.S.C.

$1746, that the foregoing statements are true.

Executed at Montgomery, Tlinois on 24, Macey » 2006,

  

J erm} Ramirez \\ :

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EXHIBIT A
 

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Jeremy L. Raynirez

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(Sent via CERTIFIED RETURN MAIL with RETURN RECEIPT)
Date: February 9, 2006

Apex Financial Management, LLC
P.O, Box 2189
Northbrook, IL 60065-2189

Re: Acct #- #5490990997248263
Dear Debt Collector:

This will serve as your legal notice under provisions of federal law, the Fair Debt
Collection Practices Act (FOCPA), to cease all communication with me in regard to the
debt referenced above. If you fai] ta heed this notice, I will file a formal complaint
against you with the Federal Trade Commission who is responsible for enforcement, the
States Attorney General office and my attorney.

I have decided that I do not desire to work with a collection agency under any
circumstances. I will only work with the original creditor to resolve this matter directly,
as circumstances warrant.

Your company has repeatedly violated the Fair Debt Collection Practices Actin an
attempt to collect the mentioned debt. Should any adverse actions be taken, a lawsuit
will be filed against you.

You are also notified that should any adverse information be placed against my credit
reports as a result of this notice that appropriate actions will be taken. Give this very
important matter the attention it deserves.

    
 

Ramirez
 

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EXHIBIT B
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Greatings, JEREMY RAMIREZ AT&T CallVantaga Phong Number: * mete ta

ACCOUNT MANAGEMENT & SETTINGS MORE FEATURES INTERNATIONAL RATES HELP TIPS LOGOUT

  

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AT&T Call Vantage(sm) Service - Call Logs

PEABO Ce

Phone service for broadband

 

Greetings, JEREMY RAMIREZ
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earn more about Gail Logs. (Call Lags ara deleted after 60 days).

Search Halp and FAGs

AT&T CallVantage Phone Number:

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HELP TIPS LOGOUT

 

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EXHIBIT D
 

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258 Chapman Rd Phillips & Cohen Associates, Ltd.
Suite 20 Ph (302) 355-3500
_ Newark, DE 19702 Fs (302) 368-0970
Retum Service Requested
Office Hours:
02/28/06 M-Th: Sam - 9pm
Fn; 8am - 6pm

Sat. Bam-l2pm

Jeremy Ramurez 256 Chapman Rd
4948 Suite 205

XE CIEE. sDealallsenvolatlsta Newark, DE 19702

 

Account #: 4676272
Balance: $7948.29

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Re: Client: HILCO RECEIVABLES, LLC
Original Creditor: MBNA AMERICA, NA
Client Acct#: £490990997248263
Our Accté; 4676272
Balance: $7948.29

Dear Jeremy Ramirez:

Your account has been referred to our office for collection on behalf of our above referenced client. To resolve this
matter and prevent any further collection activity, full payment must be sent to this office at the address above.

IT 1S NOT IN YOUR BEST INTEREST TO NEGLECT THIS ACCOUNT ANY FURTHER! IF
YOU HAVE ANY QUESTIONS, IMMEDIATELY CONTACT OUR OFFICE AT THE ABOVE
TELEPHONE NUMBER.

Sincerely,

Adam §. Cohen
CEO / Ca-Chairman

*» IMPORTANT CONSUMER INFORMATION **

Unless you notify this office within thirty (30) days after receiving this notice that you dispute the validity of thus debt or any
portion thereof, this office will assume this debt is valid. If you notify this office in writing within thirty (30) days from
receiving this notice, this office will: obtain verification of the debt or obtain a copy of a judgment and mail you copy of
such verification or judgment. If you request this office in writing within thirty (30) days of receiving this notice, this office
will provide you wrth the name and address of the original creditor, if different from the current ereditor. This
communication is from a debt collector. This ig an attempt to collect a debt and any information obtained will be used for

at purpose.

Phillips & Cohen Associates, Ltd. « 258 Chapman Rd, Suite 205 « Newark, DE 19702 « (800) 259-6991
(QESP}43.T009:000006:001:1000:06059:PU0L-PCAL120:01; . PCAL!20
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Privacy Notice
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This notice is being forwarded. to you in compliance with the requirements of the Gramm-Leach- Bliley Pnvacy Act, 15
U.S.C. sec, 6801 et seq. It has no reflection or bearing upon the status of your account.

Information We May Collect
Hilco Receivables, LLC, together with its affiliated companies (collectively, the ,,Accaunt Owners” or “Wel, collects
nonpublic personal information about you that} is obtained from one or more of the following sources:

re Pin AR Re
1. Information we. received from companies that sold us your account (for example, applications and other
related forms); riety “
2. Information about your transactions with us, our affiliates, or others, and
3, Information we. reczived from a congumer-reporting agency.

Information We May Share. With Nonaffiliated Companies . mes ‘os
The Account Owners may share all of the information we collect about you, ais described above, with nonaffiliated
companies, a3 permitted by law. For example:

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We may share information about you with companies that we use to perform | dccount-setvicing functions to manage and
maintain your account and to process transactions that you have authorized; and © 7" Vee as

-We may report information about you to consumer reporting agencies, government agencies in regpanse to ‘subpoenas, or
others in connection with investigations.

Confidentiality and Security of your Account

The Account Owners restrict access to nonpublic personal information about you to only thdge employees who need to know
such information, and third party service providers who provide suppart services to us. ‘We maintain physical, electronic and
procedural safeguards to protect your personal information. If we use other companies to provide services for us, we require
them to keep the’ information we share with them, sage and secure and we, do not, allow them ta use the information for any .
purpose other than the job they are hired to do.

Additional Rights and Modifications "
You may have other privacy protections under state or Federal laws including the Fair Debt Collection Practices Act. We
may amend this Privacy Notice at anytime, arid will infortn you of changes as required by law.

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Please direct all inquiries in regard to this notice to Hileo Receivables, LLC, 5 Revere Drive, Suite 415, Northbrook, IL
60062 or call us toll free at 800-635- $733 between 8: 06 a1, . Central Standard Time and 5 00 p.m. Centra! Standard Time
Monday-Friday. ME og

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Vermont Residents «s Oa Following the law of your state, we will not disclose nonpublic personal financial information
about you to nonaffiliated third parties (other-than aa permitted by law) unléss you authorize us to make that disclosure.
Your authorization mist'be in writirig.: If you wish to authorize'us to disclose your nonpubli¢ personal financial information
to nonaffhated third parties, you may write to us at Hilco Receivables, LLC, 5 Revere Drive, Suite 415, Northbrook, IL.
60062,

 
